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                      - JUbGETHABP
                      UNEI ST-NAII JUOGE G1LBERI

                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

              DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

1.     Is this an indictment or information arising out of offenses charged in one or more
previously-filed complaints signed by a magistrate judge? No (You must answer 1b even if
the answer is No)

       la.    If the answer is 'Yes," list the case number and title of the earliest        filed
       complaint:

       lb. Should this indictment or information receive a new case number from the
       court? Yes

2. Is this an indictment or information that supersedes one or more previously-flled
indictments or informations? No

       2a. If the answer is 'Yes," list the case number and title of the earliest           frled
superseded indictment or information and the name of the assigned judge (Local Rule
a0.3GX2)):

3.     Is this a re-frling of a previously dismissed indictment or information? No

4. Is this a case arising out of the failure of the defendant to appear in a criminal
proceeding in this Court? No

5.     Is this a transfer of probation supervision from another district to this District? No

6.     What level of offense is this indictment or information? Felony

7.     Does this indictment or information involve eight or more defendants? No

8.     Does this indictment or information include a conspiracy    count? No

9.     Identify the type ofoffense that describes the count, other than any conspiracy count,
with the most severe penalty: II

10.    List the statute of each of the offenses charged in the indictment or information.
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                                                  Assistant United States Attomey (DOJ Antitrust
                                                  Trial Attomey)
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